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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                              CRIMINAL 06-0288CCC

 1) JONATHAN SANTIAGO-ORTIZ
 2) ONIX RICARDO VARGAS-RAMOS
 Defendants


                                        ORDER
       Having considered the Report and Recommendation filed on February 12, 2007
(docket entry 35) on a Rule 11 proceeding of defendant Onix Ricardo Vargas-Ramos held
before Magistrate Judge Marcos E. López on February 6, 2007, to which no opposition has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant Onix Ricardo
Vargas-Ramos is accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty and contain all
elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since February 6, 2007. The sentencing hearing is set for May 16,
2007 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on February 16, 2007.



                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
